Case 23-11131-TMH   Doc 1181-1   Filed 01/22/24   Page 1 of 2




                    EXHIBIT A
                                                   Case 23-11131-TMH                 Doc 1181-1          Filed 01/22/24           Page 2 of 2


Amyris, Inc., et al.

Plan Effective Date Funding Schedule
$ in millions
Administrative Expenses
                                           (1)
a) Funding of Cash shortfall at W/C Feb-12                                                                                 3.14
                                               (2)
b) Accounts Payable (administrative expenses)                                                                             20.50
                       (3)
c) Aug-23 Stub rent                                                                                                        1.48
                   (4)
d) Priority Claims                                                                                                         2.46
                              (5)
e) Cures and 503(b)9 claims                                                                                                3.16
                                                   (6)
f) Estimated Accrued & Unpaid Professional Fees                                                                           22.64
                                                                           (7)
g) Key Employee Incentive Plan (KEIP) / Key Employee Retention Plan (KERP)                                                 2.36
h) Estimated Quarterly UST Fees - Stub period                                                                              0.40
   Subtotal - Administrative Claims                                                                                       56.13

Estate Settlements
i) Estate Claim Settlement and Creditor Trust Funding                                                                     17.00
j) 3rd Party Release Settlement                                                                                           21.40
k) Lavvan Settlement                                                                                                      15.14
l) Cross-holder group Settlement                                                                                           0.45
   Subtotal - Estate Settlements                                                                                          53.99
Total                                                                                                                   110.12

NOTES:
1) Reflects the cash funding shortfall as contemplated in the DIP budget at the end of W/C Feb-12th
2) Estimated accrued and unpaid amounts owed for the Consumer business, as of the closing date of the each sale of Consumer Brands. Estimated
accrued and unpaid amounts owed for the Tech Access, R&D, and G&A, as of the end of W/C Feb-12th, based on the assumed effective date of plan of February 15, 2024
3) Reflects the stub a portion of the Aug-23 rent of Emeryville site that remain unpaid.
4) Represents an estimate for priority claims (tax, employee, other).
5) Represents estimated amounts due to vendors and suppliers on account contracts that need to be assumed and cured for the go-forward Amyris 2.0 business and 503(b)9 claims
estimate on account of amounts owed to suppliers for inventory received by the Debtors within 20 days of the petition date
6) Reflects the accrued and unpaid/not funded into escrow for professional fees estimated at February 15, 2024.
7) Reflects the KEIP to be paid on upon plan confirmation and the 2nd installment of KERP payment
